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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION


SENECA SPECIALTY INSURANCE                  §
COMPANY,                                    §
          Plaintiff,                        §
v.                                          §
                                            §       CIVIL ACTION NO. 1:20-CV-222
RANDY E. CHAPPELL, VINTON                   §
HOOKAH LOUNGE, LLC D/B/A                    §
ANGELS, AARON MICHAEL                       §
WARREN, AND FELICA MANUEL                   §
INDIVIDUALLY AND AS NEXT                    §
FRIEND OF NOAH MANUEL AND                   §
ON BEHALF OF THE ESTATE OF                  §
DAMIEN MANUEL,                              §
           Defendants.                      §



     DEFENDANT FELICA MANUEL INDIVIDUALLY, AS NEXT FRIEND OF NOAH
        MANUEL AND ON BEHALF OF THE ESTATE OF DAMIEN MANUEL’S
            12(B)(1) MOTION TO DISMISS TO DISMISS FOR LACK OF
                       SUBJECT MATTER JURISDICTION


TO THE HONORABLE JUDGE MARCIA A. CRONE:

       COMES NOW, FELICA MANUEL, Individually and as next friend of Noah Manuel and

on behalf of the Estate of Damien Manuel, (hereinafter, “Manuel”) and files this 12(b)(1) Motion

to Dismiss pursuant For Lack of Subject Matter Jurisdiction, and in support thereof, would

respectfully show the Court as follows:

                                            I.
                                      INTRODUCTION

1.     Manuel filed suit to recover survival and wrongful death damages against Vinton Hookah

Lounge, LLC d/b/a Angels, Randy E. Chappell, and Aaron Michael Warren (hereinafter, the




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“Underlying Defendants”) in Cause No. 199565 in the 60th Judicial District of Jefferson County,

Texas.

2.         Seneca filed its Complaint for Declaratory Judgment [Dkt. 1] seeking a judicial declaration

of the following: (1) it did not owe the Underlying Defendants the duty to indemnify based on a

policy exclusion [Count I]; and (2) it did not owe the Underlying Defendants a duty to defend or

indemnify based on the recently established collusive fraud exception to the eight-corners rule

[Count II]. 1 Seneca subsequently amended its Complaint to only include Count I. Accordingly,

the issue before the Court is Seneca’s duty to indemnify [Count I].

3.         Summary of Argument: Seneca asks this Court to declare it has no duty to indemnify its

insured in an underlying matter which has not yet been resolved. The underlying litigation has not

yet been completed. Seneca’s duty-to-indemnify question is unripe and nonjusticiable and

dismissal is appropriate pursuant to FED. R. CIV. P. 12(b)(1).

                                               II.
                                        LEGAL STANDARD

           Where a court lacks the statutory power to adjudicate a case, it must dismiss for lack of

subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1). see Home Builders

Ass'n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). Where dismissal is

sought for lack of subject matter jurisdiction, the proper procedure is a motion filed pursuant to

Federal Rule of Civil Procedure 12(b)(1). Cupit v. United States, 964 F. Supp. 1104, 1107 (E.D.

La. 1997) (citing Stanley v. Central Intelligence Agency, 639 F.2d 1146, 1156-57 (5th Cir. Unit B

March 1981).

           The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction. Vinings Ins. Co. v. Byrdson Servs., No. 1:14-CV-525, 2016 U.S. Dist. LEXIS 191946,


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    Dkt. 1 at ¶ 35 and 36.

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at *6-7 (E.D. Tex. 2016). Accordingly, the plaintiff constantly bears the burden of proof that

jurisdiction does in fact exist. Id. see also Stockman v. Federal Election Comm'n, 138 F.3d 144,

151 (1998) (the party seeking to invoke the jurisdiction of a federal court carries the burden of

demonstrating that jurisdiction is proper).

                                         III.
                              ARGUMENTS AND AUTHORITIES

A. AUTHORITIES

         1. CASE & CONTROVERSY REQUIREMENT

         Federal courts are courts of limited jurisdiction may hear a case only when jurisdiction is

both authorized by the United States Constitution and confirmed by statute. Owen Equip. Co. v.

Kroger, 437 U.S. 365, 371, 98 S. Ct. 2396, 57 L. Ed. 2d 274 (1978); see also Kokkonen v. Guardian

Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994); In re Bissonnet

Invs. L.L.C., 320 F.3d 520, 525 (5th Cir. 2003). Article III of the United States Constitution limits

the jurisdiction of federal courts to “cases” and “controversies.” RSL-3B-1L, Ltd. v. Symetra Life

Ins. Co., No. H-12-2708, 2016 U.S. Dist. LEXIS 32585, 2016 WL 1019509, at *2 (S.D. Tex. Feb.

22, 2016), adopted by 2016 U.S. Dist. LEXIS 32243, 2016 WL 1064628 (S.D. Tex. March 14,

2016).

         “Ripeness is a justiciability doctrine designed ‘to prevent the courts, through avoidance of

premature adjudication, from entangling themselves in abstract disagreements over administrative

policies, and also to protect the agencies from judicial interference until an administrative decision

has been formalized and its effects felt in a concrete way by the challenging parties.’” Sample v.

Morrison, 406 F.3d 310, 311 (5th Cir. 2005) (quoting Nat’l Park Hospitality Ass’n v. Dep’t of

Interior, 538 U.S. 803, 807-08 (2003)). “Because ripeness is a component of subject matter




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jurisdiction, a court does not have the power to decide claims that are not yet ripe.” Avalon

Residential Care Homes, Inc. v. City of Dall., No. 3:11-cv-1239-D, 2011 WL 4359940, at *5 (N.D.

Tex. Sept. 19, 2011) (citing Sample, 406 F.3d at 312). Notably, “[t]he case or controversy

requirement of Article III of the United States Constitution is identical to the actual controversy

requirement under the Declaratory Judgment Act.” Ironshore, at 163. Quoting Texas v. W. Publ'g

Co., 882 F.2d 171, 175 (5th Cir.1989).

       The Declaratory Judgment Act, 28 U.S.C. § 2201(a) provides “[i]n a case of actual

controversy within its jurisdiction…any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration.” 28 U.S.C. § 2201(a). It is an enabling act which confers discretion on

the courts rather than an absolute right on a litigant. Vinings Ins. Co. v. Byrdson Servs., No. 1:14-

CV-525, 2016 U.S. Dist. LEXIS 191946, at *8 citing Wilton v. Seven Falls Co., 515 U.S. 277, 287,

115 S. Ct. 2137, 132 L. Ed. 2d 214 (1995).

       Accordingly, a district court considering a declaratory judgment action “must engage in a

three-step inquiry to determine: (1) whether the declaratory judgment action is justiciable; (2)

whether the court has the authority to grant the declaratory relief; and (3) whether to exercise its

discretion to decide or dismiss the action.” Ironshore Specialty Ins. Co. v. Tractor Supply Co., 624

F. App'x 159, 162 (5th Cir. 2015) citing Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895

(5th Cir. 2000).

       The first step of the Orix inquiry, justiciability, “[t]ypically ... becomes a question of

whether an ‘actual controversy’ exists between the parties to the action.” Ironshore, 624 F. App'x

at 163. quoting Orix, 212 F.3d at 895. Stated differently, a declaratory judgment action is ripe for

adjudication only where an 'actual controversy' exists. AIG Prop. Cas. Co. v. Schultz, No. H-20-



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3213, 2021 U.S. Dist. LEXIS 9844, at *3 (S.D. Tex. 2021) (citing Orix, 212 F.3d at 896 (quoting

28 U.S.C. § 2201(a)).

       “Whether an actual controversy exists must be determined on a case-by-case basis, but, as

a general rule, one exists where a substantial controversy of sufficient immediacy and reality exists

between parties having adverse legal interests.” TOTAL Gas & Power North America, Inc. v.

Federal Energy Regulatory Commission, 859 F.3d 325, 333 (5th Cir. 2017) (internal quotations,

citations, and alterations omitted). “A controversy, to be justiciable, must be such that it can

presently be litigated and decided. and not hypothetical, conjectural, conditional or based upon the

possibility of a factual situation that may never develop.” Brown & Root, Inc. v. Big Rock Corp.,

383 F.2d 662, 665 (5th Cir. 1967).

       2. THE INSURER’S DUTIES

       By issuing a liability insurance policy, an insurer generally assumes both the duty to

indemnify the insured, that is, to pay all covered claims and judgments against an insured, and the

duty to defend any lawsuit brought against the insured that alleges and seeks damages for an event

potentially covered by the policy, even if groundless, false or fraudulent, subject to the terms of

the policy. D.R. Horton-Texas, Ltd. v. Markel Int’l Ins. Co., 300 S.W.3d 740, 743 (Tex. 2009).

The duty to indemnify is separate from the duty to defend, and “the existence of one does not

necessarily depend on the existence or proof of the other.” Nat’l Liab. & Fire Ins. Co. v. Young,

459 F. Supp. 3d 796, 802 (N.D. Tex. 2020) citing D.R. Horton-Texas, Ltd., 300 S.W.3d at 745.

               a. Duty to Defend

       When an insured is sued, the insurer’s duty to defend is determined solely by the facts

alleged in the petition and the terms of the policy. AIG Prop. Cas. Co. v. Schultz, No. H-20-3213,

2021 U.S. Dist. LEXIS 9844, at *7-8 (S.D. Tex. 2021) citing Peachtree, 647 F.3d at 253 (citing



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Pine Oak Builders, Inc. v. Great American Lloyds Insurance Co., 279 S.W.3d 650, 654 (Tex.

2009)). This is the “eight corners” rule. Id. “[T]he duty to defend does not rely on the truth or

falsity of the underlying allegations; an insurer is obligated to defend the insured if the facts alleged

in the petition, taken as true, potentially assert a claim for coverage under the insurance policy.”

Id. (emphasis in original) (citing GuideOne Elite Insurance Co. v. Fielder Road Baptist Church,

197 S.W.3d 305, 308 (Tex. 2006)). “Because the only two documents relevant to the duty-to-

defend inquiry are the insurance policy and the petition, an insurer's duty to defend can be

determined at the moment the petition is filed.” Id.

                b. Duty to Indemnify

        Unlike the duty to defend, which turns on the pleadings, the duty to indemnify is triggered

by the actual facts establishing liability in the underlying suit, and whether any damages caused

by the insured and later proven at trial are covered by the terms of the policy. Id. (citing Trinity

Universal Insurance Co. v. Cowan, 945 S.W.2d 819, 821 (Tex. 1997) (emphasis added); see also

D.R. Horton-Texas, 300 S.W.3d at 744). Accordingly, an insurer’s duty to indemnify generally

“cannot be ascertained until the completion of litigation, when liability is established, if at all.” Id.

(citing Griffin, 955 S.W.2d at 84).

        Texas recognizes an exception to this general rule. Griffin, 955 S.W.2d at 84. “[T]he duty

to indemnify is justiciable before the insured's liability is determined in the liability lawsuit when

the insurer has no duty to defend and the same reasons that negate the duty to defend likewise

negate any possibility the insurer will ever have a duty to indemnify.” Id. The Griffin exception is

“fact specific” and should not be construed broadly. D.R. Horton-Tex., Ltd. v. Markel Int’l Ins.

Co., 300 S.W.3d 740, 744 (Tex. 2009).




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            It applies if “under the facts pled by the plaintiff it would have been impossible for the

insured defendant to show by extrinsic evidence that the loss fell under the terms of the policy.”

Burlington N. & Santa Fe Ry. Co. v. Nat'l Union Fire Ins. Co., 334 S.W.3d 217, 220 (Tex. 2011)

(recognizing that the Griffin exception was established due to the impossibility of using extrinsic

evidence to transform an intentional tort of a drive-by-shooting into a car accident that could be

covered under the insurance policy); D.R. Horton, 300 S.W.3d at 745 (same).

            Thus, the Griffin exception applies if (1) the insurer has no duty to defend, and (2) the same

reasons that negate the duty to defend likewise negate any possibility the insurer will ever have a

duty to indemnify. See Griffin, 955 S.W.2d at 84; Burlington N. & Santa Fe Ry. Co., 334 S.W.3d

at 219-220; D.R. Horton, 300 S.W.3d at 745.

B. ARGUMENT

            1. DISMISSAL IS APPROPRIATE PURSUANT TO FED. R. CIV. P. 12(B)(1) BECAUSE THERE IS
               NO JUSTICIABLE CONTROVERSY WHICH DEPRIVES THIS HONORABLE COURT OF ITS
               SUBJECT MATTER JURISDICTION.

            The sole issue before this Court is whether Seneca owes a duty to indemnify the Underlying

Defendants. While analysis of the duty to defend has been strictly circumscribed by the eight-

corners doctrine, it is well settled the “facts actually established in the underlying suit control the

duty to indemnify.” D.R. Horton-Texas, Ltd., 300 S.W.3d at 744.

            The controversy here is admittedly hypothetical. Seneca claims it “owes no duty to

indemnify the Underlying Defendants for damages they may be legally obligated to pay in the

Underlying Lawsuit” based on a policy exclusion.2 The Texas Supreme Court generally holds

“there [is] no justiciable controversy regarding the insurer's duty to indemnify before a judgment

has been rendered against an insured.” AIG Prop. Cas. Co. v. Schultz, No. H-20-3213, 2021 U.S.



2
    Dkt. 31 at p. 6.

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Dist. LEXIS 9844, at *5-6 (S.D. Tex. 2021) citing Farmers Texas County Mutual Insurance Co.

v. Griffin, 955 S.W.2d 81, 83 (Tex. 1997) (citing Firemen’s Insurance Co. v. Burch, 442 S.W.2d

331 (Tex. 1968)); see also LCS Corrections Services, Inc. v. Lexington Insurance Co., 800 F.3d

664, 668 (5th Cir. 2015) (“[W]e, generally evaluate the insurer's duty to indemnify after the parties

have developed the actual facts that establish liability in the underlying lawsuit.”).

           There has been no judgment entered nor settlement reached in the Underlying Lawsuit. No

jury has heard evidence and returned a verdict on the same. Simply, Seneca filed its declaratory

action prior to any determination of liability in the Texas state court.3




           Seneca asks this Court to declare it has no duty to indemnify its insured in an underlying

matter which has not yet been resolved. Such a request is premature and contrary to well

established precedent. Even Seneca recognizes its duty to indemnify is dependent on factual

findings and factual development in the Underlying Lawsuit that have not and may not develop.4




3
    See Seneca’s Discovery Responses attached hereto as Exhibit A.
4
    Id.

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       Texas courts generally find such cases are not ripe until the Texas state court’s

determination of liability. Northfield Ins. Co. v. Loving Home Care, Inc., 363 F.3d 523, 536-37

(5th Cir. 2004). In Northfield, the district court was tasked with determining the insurer's defense

and indemnity obligations, the underlying litigation was still pending. 363 F.3d at 537 (applying

Texas law). The Fifth Circuit affirmed the district court's decision, holding that the insurer had a

duty to defend the insured in the underlying suit, but that, because the underlying litigation had

not yet been completed, the duty-to-indemnify question was unripe and nonjusticiable. Id.

       Since Northfield, the Fifth Circuit has consistently reaffirmed the validity of that general

rule. See Martco, 588 F.3d at 872 (stating that factual development regarding liability is necessary

before the duty to indemnify can be decided and holding that the insurer had a duty to defend and

indemnify, but the duty-to-indemnify claim was only ripe because the underlying litigation had

already been completed) (applying Louisiana law); see also Columbia Cas. Co., 542 F.3d at 111

(stating that generally, the duty to indemnify question is not ripe until after resolution of the

underlying suit and finding that the indemnity question was ripe, but solely because the insurance

policy did not impose a duty to defend, causing a narrow exception to apply); see also Coregis,

2008 U.S. App. LEXIS 12188, 2008 WL 2325632, at *2 (stating that under both Texas and

Louisiana law, “the indemnity issue is nonjusticiable pending resolution of the liability suit”).


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         Texas law is clear: “there [is] no justiciable controversy regarding the insurer's duty to

indemnify before a judgment has been rendered against an insured.” Griffin, 955 S.W.2d at

83(emphasis added). While Courts do recognize an exception to this general rule, it is inapplicable

here. In Griffin, the Texas Supreme Court held the duty to indemnify is justiciable before the

insured’s liability is determined in the liability lawsuit when: (1) the insurer has no duty to defend;

and (2) the same reasons that negate the duty to defend likewise negate any possibility the insurer

will ever have a duty to indemnify. 955 S.W.2d at 84 (emphasis added).

         Seneca tried to litigate its duty to defend in the present action. Initially, Seneca sought a

declaration that it has no duty to defend or indemnify because the Underlying Defendants, and the

Underlying Plaintiffs fraudulently colluded to make false representations for the purpose of

securing defense coverage.5 Since an insurer’s duty to defend is determined solely by the facts

alleged in the petition and the terms of the policy, Seneca tried to invoke a recently adopted

exception to the eight-corners rule. The Loya exception provides that a court may consider extrinsic

evidence regarding whether the insured and a third party suing the insured colluded to make false

representations of fact in that suit for the purpose of securing a defense and coverage where they

would not otherwise exist. Loya Ins. Co. v. Avalos, No. 18-0837, 63 Tex. Sup. Ct. J. 969, 2020

Tex. LEXIS 373 (May 1, 2020). In Loya, the court held that if the insurer conclusively proves

such collusive fraud, it owes no duty to defend.6 After discovery, Seneca withdrew Count II

invoking Loya.7

         Without Loya, Seneca’s duty to defend must be evaluated under the default eight-corners

rule. Even Seneca agrees the Policy and pleadings in the underlying action trigger its duty to



5
  Dkt. 1 at ¶ 36.
6
  Id.
7
  Dkt. 28 at p. 1.

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defend. 8 Seneca failed to show it has no duty to defend under the eight-corners rule or Loya. Thus,

the first prong of the Griffin exception is not satisfied. Consequently, Seneca cannot offer any

reasons, much less “the same” reasons negating the duty to defend that “likewise negate any

possibility the insurer will ever have a duty to indemnify." See Griffin, 955 S.W.2d at 84.

        With no specific facts to negate Seneca’s duty to defend, the duty-to-indemnify question

is non-justiciable. Northfield, 363 F.3d at 529. Seneca’s request for a declaration on its duty to

indemnify is premature, nonjusticiable and consequently, deprives this Honorable Court of its

subject matter jurisdiction. Accordingly, Manuel respectfully requests this Court dismiss Seneca’s

declaratory judgment action in its entirety.

                                                    IV.
                                                  PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that the Court

Grant Defendant Felica Manuel Individually, as next friend of Noah Manuel and on behalf of the

Estate of Damien Manuel’s Motion to Dismiss Plaintiff’s Original Complaint for Declaratory

Judgment pursuant to FED. R. CIV. P. 12(b)(1) and for all other and further relief, in law or equity,

to which she is just entitled.

                                           Respectfully submitted,

                                           THE FERGUSON LAW FIRM, LLP

                                           By:______________________
                                           Paul “Chip” Ferguson
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                                           ATTORNEY FOR DEFENDANT

8
 Dkt. 29 at ¶ 20. [Seneca agreed to defend the Underlying Defendants in the Underlying Lawsuit under a reservation
of rights.]

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                                 CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing instrument has been furnished
to all counsel on the 8th day of October, 2021 by electronic service, in accordance with Local Rules,
CM/ECF, and the Federal Rules of Civil Procedure.


                                      By:     _____________________________
                                              Paul ‘Chip’ Ferguson




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